   Case 4:24-cv-03783       Document 17   Filed on 03/10/25 in TXSD   Page 1 of 1
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                            March 10, 2025
                IN THE UNITED STATES DISTRICT COURT
                                                                          Nathan Ochsner, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

                                   §
Marvin B. Freedman,                §
                                   §
           Plaintiff,              §
                                   §            Civil Action No. 4:24-cv-03783
v.                                 §
                                   §
Wells Fargo Home Mortgage, et al., §
                                   §
           Defendants.             §

               MEMORANDUM AND RECOMMENDATION

      On February 21, 2025, this Court entered an order directing Plaintiff

Marvin B. Freedman to show cause why his suit should not be dismissed for

violating this Court’s directives that he (1) confer with Defendants and prepare

a Joint Discovery Case Management Plan; and (2) attend the February 21,

2025 initial conference. See Dkt. 16. The order set a deadline of March 7, 2025

for Plaintiff’s response.

      The deadline has expired without any response by Plaintiff. Accordingly,

it is RECOMMENDED that this suit be DISMISSED WITHOUT

PREJUDICE for want of prosecution and for violating this Court’s orders.

      Signed on March 10, 2025, at Houston, Texas.

                                          __________________________________
                                          Yvonne Y. Ho
                                          United States Magistrate Judge
